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Presented to the Court by the foreman of the
Grand Jury in open Court, in the presence of
the Grand Jury and FILED in the US.
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Deputy

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE

UNITED STATES OF AMERICA, no. CR23-147 KSte

Plaintiff INDICTMENT

Vv.

SAJED AL-MAAREI,

Defendant.

The Grand Jury charges that:
COUNT 1

(Conspiracy to Commit Wire and Mail Fraud)
A. Overview
l. From about September 21, 2020 through at least about December 28, 2022,
Defendant SAJED AL-MAAREJ, and others known and unknown to the Grand J ury,
orchestrated a scheme to secure fraudulent refunds for himself and thousands of retail
customers, while permitting the customers to keep the merchandise they ordered. This
refunding fraud caused at least approximately $3.9 million in losses for retailers around

the country, including retailers located within the Western District of Washington.

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2. The scheme followed the same basic pattern throughout the duration of the
fraud: AL-MAAREJ solicited purchasers to participate in his scheme through Telegram,
a messaging service that enables users to disseminate messages to a large audience
through public “channels.” AL-MAARE] operated a refunding Telegram channel called
“Simple Refunds.”

3. AL-MAARE] encouraged purchasers to buy items from online retailers
AL-MAARE] claimed he could defraud (hereinafter “Victim Companies”). The
purchaser then contacted Simple Refunds request assistance in obtaining a refund, while
also permitting the purchaser to keep the products they ordered.

4, The purchaser provided AL-MAAREJ and his co-conspirators certain
information about their order, including purchaser name, order number, amount of the
order, and shipping address. AL-MAARE] captured that information in an online
sharable spreadsheet, to which he and his co-conspirators members had access. AL-
MAAREJ and co-conspirators at AL-MAAREI’s direction then used the information in
the spreadsheet to pose as the purchaser and seek a refund from the online retailer.

>t AL-MAAREJ used common misrepresentations to convince the retailer to
dispense the refund without requiring the purchaser to return the product. For example:

a. AL-MAARE, or a co-conspirator at AL-MAARE)’s direction, would
falsely claim that the purchaser did not receive the ordered item. AL-
MAARE or the co-conspirator sometimes directed employees at United
Parcel Service (UPS) to input false scans into the order tracking history,
which assisted them in persuading the retailer to issue the refund.

b. AL-MAAREJ and his co-conspirators also used United States Postal
Service (USPS) insiders to input false “return to sender” scans into the

parcel tracking, even though the purchaser received the item as intended.

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The victim retailer believed the product had been returned and issued a
refund.

c. AL-MAAREJ, or a co-conspirator at acting AL-MAAREJ’s direction,
informed the victim company that the purchaser wanted to return the
product. The purchaser returned a package that contained nothing, garbage,
or junk, The retailer issued a refund before it uncovered the ruse.

6. The end goal of each of these misrepresentations was to deceive the retailer
into (a) believing the purchaser had returned (or intended to return) the product or there
was a problem with the product’s delivery, and (b) issuing a refund to the purchaser for
that return. In fact—as AL-MAAREJ and his co-conspirators well knew—the purchaser
intended to keep the purchased product. The purchaser kept both the purchased item and
a fraudulently induced refund payment equivalent to the value of that item.

7. In exchange for facilitating the refund on behalf of the purchaser, AL-
MAAREJ charged the purchaser a percentage of the value of the refund payment. The
percentage depended on the retailer and typically ranged from 15% to 25% of the refund.

8. Simple Refunds was responsible for approximately $2,900,000 worth of
fraudulently induced refunds under AL-MAAREJ’s leadership. AL-MAARE] and his co-
conspirators defrauded more than 50 Victim Companies on behalf of hundreds of
purchasers. The largest victim is Victim Company 1, which is located within the Western
District of Washington. VC1 lost at least approximately $1,400,000 to the scheme.
Victim Company 2 and Victim Company 3, other western Washington-based retailers,
experienced at least approximately $290,000 and $80,000 in losses respectively. In total,
western Washington-based retailers lost at least approximately $1.9 million to AL-
MAAREJ’s scheme.

9. AL-MAAREJ personally engaged in fraudulent refunding while assisting

others to do the same. AL-MAARE]J personally obtained at least approximately

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$1,000,000 in fraudulently induced refunds paid directly to his personal bank and credit
cards accounts or for items sent to his address.
B. The Conspiracy

10. Beginning on or about September 21, 2020, and continuing through at least
on or about December 28, 2022, in Snohomish County, within the Western District of
Washington, and elsewhere, SAJED AL-MAARE] and others did conspire, confederate
and agree, together with each other and others known and unknown to the Grand Jury, to
commit the offenses of wire fraud and mail fraud in violation of Title 18 United States
Code, Sections 1343 and 1341.

11. That is, AL-MAAREJ, together with others known and unknown, with
intent to defraud, agreed to knowingly devise a scheme and artifice to defraud, and to
obtain money and property by means of materially false and fraudulent pretenses,
representations, and promises.

12. AL-MAAREJ agreed with others known and unknown to execute and
attempt to execute the scheme and artifice to defraud by knowingly transmitting, and
causing to be transmitted, by wire communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds, and aided and abetted others to do the same.
Several of those wires originated in the Western District of Washington and traveled
interstate.

13. AL-MAAREJ agreed with others known and unknown to execute and
attempt to execute the scheme and artifice to defraud by knowingly causing to be
delivered, by FedEx, UPS, and the USPS, all private or public commercial interstate
carriers, according to the directions thereon, one or more packages to addresses within
the Western District of Washington, and aided and abetted others to do the same.

14. The object of the conspiracy was to purchase merchandise from the Victim

Companies and then fraudulently obtain refunds of the purchase price, while still

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retaining the merchandise, by falsely representing to the Victim Companies that, for
example, the purchaser had not received the ordered merchandise or the purchaser
already returned the item. AL-MAAREJ and his co-conspirators defrauded retailers by
causing them to pay at least $3,900,000 to AL-MAARE]J or the retail customers (AL-
MAAREJ’s co-conspirators) based on fraudulent refund claims. The co-conspirators then
paid AL-MAAREJ a percentage of these refunds.
C. Manner and Means
The following conduct was part of the conspiracy:
a. Simple Refunds Telegram Channels

15. AL-MAAREJ, together with others known and unknown to the Grand Jury,
operated a fraudulent refunding service on Telegram called “Simple Refunds”
(@Simplerefund). Simple Refunds operated on at least two Telegram channels. Telegram
is a cloud-based messaging service that users can access through an application on their
mobile device or computer, or through the web. Telegram enables users to disseminate
messages to large groups through “channels.” Telegram channels can have an unlimited
number of members. Channels can be public or private. Public channels have a
permanent uniform resource locator (URL), which enables easy sharing, search, and
discovery. Only the channel’s creator or someone the creator has designated as an
administrator may post content to a Telegram channel. Posts may be anonymous or
signed by the administrator who wrote the post.

16. AL-MAAREJ used the first Telegram channel—the Simple Refunds
“main” channel—to advertise his services and provide updates about the stores Simple
Refunds could defraud. The channel was public, which means it was accessible to anyone
with an Internet connection. It amassed a following of over 1,000 subscribers throughout
the course of the conspiracy. Under AL-MAAREJ’s leadership, there were hundreds of

posts on the Simple Refunds main channel ranging in content from general updates (such

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as AL-MAAREJ’s planned vacation dates) to correspondence about a particular type of
refund.

17. AL-MAARE] used the second channel—the “vouches” sub-channel—to
display screenshots, or “vouches,” of successful refunds. Customer vouches were a
primary tool AL-MAARE] used to promote his illegal business. Like the main channel,
the Simple Refunds Vouches channel was public.

b. The Agreements

18. The Simple Refunds conspiracy involved participants at three levels: AL-
MAAREJ, his staff of refunders, and the purchasers.

19. AL-MAAREJ was at the top of the pyramid—he developed Simple
Refunds and the infrastructure on which it operated. AL-MAARE] ran Simple Refunds
day-to-day. For example, AL-MAAREJ troubleshooted problems with refunds (“Submit
All [VC1] orders before they ship — fixing all failed [VC1] orders” April 2, 2022):
provided updates on his own scheduling and work-flow (“Gm, be online in 30, everyone
with an [VC9] order that was sent thru DMs please BUMP, I’m processing all of em
today, got busy last night” February 22, 2022); and advertised specific aspects of the
fraud (“[VC1] MacBook Instant Refunds Are Ae Right now make sure you take
advantage and order” March 4, 2022).

20. AL-MAAREJ sometimes relied on Simple Refunds staff—known as
“Professional Refunders”—to engage with the retailers on the purchasers’ behalf and
secure a fraudulent refund. These Professional Refunders worked on AL-MAARE]’s
behalf and at his direction. They were the second level of the pyramid.

21. Purchasers—or Simple Refunds customers—were at the bottom of the
pyramid. AL-MAARE]J enticed them into the conspiracy by aggressively advertising his

refunding scheme on Telegram, as shown in the following posts on Simple Refunds:

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22. AL-MAAREJ and his co-conspirators worked with dozens of Purchasers
throughout the course of the conspiracy. In each instance, AL-MAARE]J or a co-
conspirator agreed with the Purchaser that AL-MAAREJ or a Simple Refunds
Professional Refunder would seek a fraudulent refund on the Purchaser’s behalf.

23. For example, Snohomish County, Washington resident Purchaser 1 (P1)
learned about Simple Refunds while on social media. In March 2022, P1 ordered two
items worth more than $1,000 from Victim Company 4 (VC4). The items shipped to P1’s
home within the Western District of Washington. P1 requested AL-MAARE]’s help in
obtaining a fraudulent refund. AL-MAARE]J or a co-conspirator at AL-MAARE]’s
direction impersonated P1 and requested a refund from VC4 under false pretenses. VC4
issued P1 a refund for the value of the items, and Pi kept the merchandise.

24. Snohomish County resident Purchaser 2 (P2) also participated in the fraud
in April 2022. P2 ordered items worth approximately $1,500 from VC1. VC1 shipped
those items to P2’s residence within the Western District of Washington. P2 then
requested a fraudulent refund from Simple Refunds. AL-MAAREJ, or a co-conspirator at
AL-MAAREJ’s direction, accessed P2’s account at VC1, falsely claimed that P2 did not
receive the items, and secured P2 a fraudulent refund, while permitting P2 to keep the
ordered items. AL-MAAREJ, or a co-conspirator at AL-MAARE]’s direction, bragged

about this order on the Simple Refunds vouches page, claiming they “fixed failed order.”

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c. AL-MAAREJ Operated Simple Refunds with Intent to Defraud

25. AL-MAAREJ operated the Telegram moniker @sxjed and the email
account sxjed11@gmail.com as part of the fraudulent scheme. AL-MAARE] used these
monikers to conceal his identity and thwart law enforcement detection.

26. AL-MAAREJ publicly boasted about the illegal nature of his “business”
and mocked the Victim Companies. For example, in March 2022, AL-MAAREJ posted
correspondence from Victim Company 5 (VCS) that said: “we have associated your order
with a screenshot/voucher found on a professional refunding service page... Please note,
[VC5] treats the use of these professional refunding sites seriously and will report such
incidents to the appropriate local police departments.” AL-MAAREJ commented to
Simple Refunds followers: “ @@O® Jk at this Bullshit Scare tactic @@ [VC5] send
me your btc address let me donate y’all sound hurt.”

27. The next month, AL-MAAREJ shared an image of stacks of currency a
Purchaser claimed they made from refunding. AL-MAAREJ commented “““ Everyone
Eatin Off [VC1] &.

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28. In May 2022, AL-MAAREJ offered a “mentorship” program through
which customers could learn how to create their own refunding scam or work for Simple
Refunds. He charged $6,000 for admission into the mentorship program. Participants paid
AL-MAARE directly via cryptocurrency or another peer-to-peer payment service, such
as Zelle or Cashapp. One of the selling points Simple Refunds used to recruit individuals
into the mentorship program states, “Learn from the best in the game, from everything
fraud related, to legit businesses and cleaning your money,” as shown in the screenshot

below:

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29. While he was running Simple Refunds, AL-MAAREJ also personally

engaged in fraudulent refunding whereby he sought and obtained refunds for himself

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without returning the refunded items. AL-MAAREJ boasted about his personal refunding
activities on Simple Refunds to attract Purchasers to the fraud.

30. As an example of AL-MAAREJ’s fraudulent refunding: Victim Company 8
[VC8] shipped more than 200 orders to AL-MAAREJ’s home in Michigan between
January 2021 and July 2023. Many orders were in AL-MAARE]’s name, but others were
under pseudonyms such as “Saj Almaarej,” which allowed AL-MAARE]J to evade VC8’s
fraud detection efforts. AL-MAAREJ sought and VC8 issued refunds for each item of
merchandise for a total of more than $500,000. Throughout the course of the fraud, AL-
MAAREJ personally obtained refunds from retailers worth approximately $1,000,000.

31. On or about December 28, 2022, AL-MAAREJ sold Simple Refunds to
another Telegram user.

D. Use of Interstate Wires and Mailings

32. The Simple Refunds conspiracy involved use of interstate wire
transmissions.

33. For example, no later than February 23, 2022, and lasting throughout the
duration of the fraud, AL-MAARE]J used a Google-based order intake system. Purchasers
desiring a fraudulent refund provided order information to AL-MAAREJ through a form
available through Google and accessible to anyone with access to a link posted on the

Simple Refunds Telegram channel. That link is shown below:

> Simple Refunds

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34. Purchasers who clicked the link were taken to a web-based Google Form.
Purchasers input data into the form, and when they pressed “submit,” the data traveled
over the wires from the customers’ location to a Google server, where it was stored and
later accessed by AL-MAAREJ or a co-conspirator so they could execute the fraud. This
data communication involved the foreseeable use of interstate or foreign wires, including
interstate wires originating and terminating in the Western District of Washington. For
example, on or about March 10, 2022, P1 entered information into the Google Form from
their home in Snohomish County, Washington. When P1 pressed “submit,” that
information traveled from the Western District of Washington to servers outside of
Washington state.

35. | The Simple Refunds conspiracy also involved use of the mails, as shipped
through interstate mail carriers. AL-MAAREJ, through Simple Refunds, directed
customers to use both private and public interstate mail carriers, including but not limited
to FedEx, USPS, and UPS. Customers ordered goods from the Victim Companies with
the intent of using Simple Refunds to fraudulently seek refunds for those goods without

returning the items. Some of those items were shipped to the Western District of

Washington.
All in violation of Title 18, United States Code, Section 1349.
COUNTS 2-5
(Wire Fraud)

36. The Grand Jury incorporates by reference Paragraphs 1-35 of this
Indictment as if fully set forth herein.

37. Beginning at a time unknown, but no later than on or about September 21,
2020, and continuing through at least September 20, 2023, in Snohomish County, within
the Western District of Washington, and elsewhere, SAJED AL-MAARE], and others

known and unknown, with the intent to defraud, knowingly devised, participated in, and

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executed a scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, as further
described below.

38. The essence of the scheme and artifice to defraud was to fraudulently
obtain merchandise refunds from Victim Companies on behalf of Purchasers (co-
schemers) by submitting false or fraudulent information to the Victim Companies about
the Purchasers and their orders. This false or fraudulent information deceived the Victim
Companies into issuing the Purchaser a refund for a purchased item, while also
permitting the Purchaser to keep the item. The Purchaser then paid AL-MAAREJ a
percentage of the value of the refund, thereby enabling AL-MAAREJ to enrich himself.

39. On or about the dates set forth below, in Snohomish County, within the
Western District of Washington, and elsewhere, for the purpose of executing and
attempting to execute this scheme and artifice to defraud, AL-MAAREJ and others,
aiding and abetting each other, did knowingly transmit and cause to be transmitted, by
wire communication in interstate and foreign commerce, the following writings, signs,
signals, pictures, and sounds, each transmission of which constitutes a separate count of
this Indictment. Each wire was a foreseeable part of the scheme and artifice to defraud.
Each of the following offenses was committed in furtherance of, and was a foreseeable

part of, the conspiracy charged in Count | of this Indictment.

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Count On or About Date

Wire

P1 enters order information into Simple Refunds
Google Form from Snohomish County,
Washington. Information travels from Western
District of Washington to servers located outside
of Washington State.

P1 re-enters order information into Simple
Refunds Google Form from Snohomish County,
Washington. Information travels from Western
District of Washington to servers located outside
of Washington State.

P1 enters order information into Simple Refunds
Google Form from Snohomish County,
Washington. Information travels from Western
District of Washington to servers located outside
of Washington State.

2 March 10, 2022
3 March 11, 2022
4 April 1, 2022
5 April 7, 2022

P2 enters order information into Simple Refunds
Google Form from Snohomish County,
Washington. Information travels from Western
District of Washington to servers located outside
of Washington State.

All in violation of Title 18, United States Code, Sections 1343 and 2.

COUNTS 6-8

(Mail Fraud)

40. | The Grand Jury incorporates paragraphs 1-35 of this Indictment as if fully

alleged herein.

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41. Beginning at a time unknown, but no later than on or about September 21,
2020 and continuing through at least September 20, 2023, in Snohomish County, within
the Western District of Washington, and elsewhere, SAJED AL-MAARE]J , and others
known and unknown, with the intent to defraud, knowingly devised, participated in, and
executed a scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, as further
described below.

42. The essence of the scheme and artifice to defraud was to fraudulently
obtain merchandise refunds from Victim Companies on behalf of Purchasers (co-
schemers) by submitting false or fraudulent information to the Victim Companies about
the Purchasers and their orders. This false or fraudulent information deceived the Victim
Companies into issuing the Purchaser a refund for a purchased item, while also
permitting the Purchaser to keep the item. The Purchaser then paid AL-MAAREJ a
percentage of the value of the refund, thereby enabling AL-MAARE]J to enrich himself.

43. It was part of the scheme and artifice to defraud that Purchasers ordered
merchandise from the Victim Companies with the intent of using AL-MAAREJ and
Simple Refunds to secure a fraudulent refund. The Victim Companies used public and
private interstate mail carriers to deliver the merchandise to the Simple Refunds
customers. These mailings were a foreseeable part of the scheme and artifice to defraud.

44, On or about the dates set forth below, in Snohomish County, within the
Western District of Washington, and elsewhere, AL-MAAREJ, and others, aiding and
abetting each other, for the purposes of executing the above-described scheme to defraud
and to obtain money and property, and attempting to do so, did knowingly cause to be
delivered by United Parcel Service, a private and commercial interstate carrier, according
to the direction thereon, and received by the recipient identified below, the parcels

specified below. Each mailing constitutes a separate count of this Indictment. Each of the

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(206) 553-7970
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SOA YM FSF YN KF SDS we IT DH Bw HH BSB S

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following offenses was committed in furtherance of, and was a foreseeable part of, the

conspiracy charged in Count 1 of this Indictment.

Count On or About Date Mailing

6 March 4, 2022 P] receives UPS parcel with tracking number
ending in 3969 at address in Snohomish
County, Washington.

7 March 31, 2022 P] receives UPS parcel with tracking number

ending in 5419 at address in Snohomish
County, Washington.

8 March 31, 2022 P1 receives UPS parcel with tracking number
ending in 6461 at address in Snohomish
County, Washington.

All in violation of Title 18, United States Code, Sections 1341 and 2.

FORFEITURE ALLEGATION

The allegations contained in Counts 1—8 of this Indictment are hereby realleged
and incorporated by reference for the purpose of alleging forfeiture. Upon conviction of
an offense alleged in Counts 1-8, SAJED AL-MAARE]J shall forfeit to the United States
any property that constitutes or is traceable to proceeds of the offense. All such property
is forfeitable pursuant to Title 18, United States Code, Section 981(a)(1)(C), by way of
Title 28, United States Code, Section 2461(c) and includes but is not limited to a sum of

money reflecting the proceeds the Defendant obtained from the offense.

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3 a.
4 b.
5 c.
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Substitute Assets. If any of the above-described forfeitable property, as a result of

any act or omission of the defendant,

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or,

has been commingled with other property which cannot be divided

without difficulty,

it is the intent of the United States to seek the forfeiture of any other property of the
defendant, up to the value of the above-described forfeitable property, pursuant to

Title 21, United States Code, Section 853(p).

A TRUE BILL: Gea—
DATED: Let 20, E823

Signature of Foreperson redacted pursuant
to the policy of the Judicial Conference of
the United States.

FOREPERSON

DERSA M. GORMAN
U he United States Attorney

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2 Yi Assistant United States Attorney

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Ke

tant United States Attorney

UNITED STATES ATTORNEY

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